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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


__________________________________________
                                          )
DANIEL J. SCAVINO, JR.                     )
                                           )   1:22-cv-00018-DLF
            Plaintiff,                     )
v.                                         )
                                           )
VERIZON COMMUNICATIONS INC.               )
                                           )
            Defendant.                     )
__________________________________________)


            DECLARATION OF REID M. FIGEL IN SUPPORT OF
     DEFENDANT VERIZON COMMUNICATIONS INC.’S OPPOSITION TO
  PLAINTIFF DANIEL J. SCAVINO JR.’S MOTION FOR SUMMARY JUDGMENT
           Case 1:22-cv-00018-DLF Document 15-2 Filed 10/05/22 Page 2 of 2




Pursuant to 28 U.S.C. § 1746, I, Reid M. Figel, declare as follows:

       1.      I am a partner with the law firm of Kellogg, Hansen, Todd, Figel & Frederick,

P.L.L.C., counsel for Defendant Verizon Communications Inc. (“Verizon”). I am an attorney

admitted to practice law in the District of Columbia and am a member of the Bar of the United

States District Court for the District of Columbia. I submit this declaration in support of

Verizon’s opposition to Plaintiff Daniel J. Scavino Jr.’s motion for summary judgment. I have

personal knowledge of the facts set forth herein and am competent to testify thereto if called as a

witness.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of a document produced as

VCI_0000002-11.



       I declare under penalty of perjury that the foregoing is true and correct.



Dated: October 5, 2022                             Respectfully submitted,

                                                   /s/ Reid M. Figel
                                                   Reid M. Figel (D.C. Bar No. 465054)
                                                   KELLOGG, HANSEN, TODD,
                                                     FIGEL & FREDERICK, P.L.L.C.
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                                                   Verizon Communications Inc.
